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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

         VS                                                       CASE NO. 3:07cr140-02/RV

CHRYSTAL GILUSO

                                 REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on April 10, 2008
Motion/Pleadings: Motion to Dismiss without prejudice, Counts 1-4, 8, 10-16 of the
Indictment in this case only against the above noted defendant, Chrystal Giluso.

Filed by United States                       on 4/9/2008            Doc.#        62
RESPONSES:
                                             on                     Doc.#
                                             on                     Doc.#
         Stipulated           Joint Pldg.
         Unopposed            Consented
                                             WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Jerry Marbut
LC (1 OR 2)                                  Deputy Clerk: Jerry Marbut

                                            ORDER
Upon     consideration   of   the    foregoing,     it     is   ORDERED   this    10th   day   of
 April                   , 2008, that:
(a) The relief requested is GRANTED.
(b)




                                              /s/ Roger Vinson
                                                             ROGER VINSON
                                                 Senior United States District Judge
